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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No.

In the Matter of the ORDER BY THE EL PASO COUNTY DISTRICT COURT TO
RELEASE THE CONTENTS OF THE FEDERAL BUREAU OF INVESTIGATION'S
CONFIDENTIAL INFORMANT FILE


                                NOTICE OF REMOVAL


       This Notice of Removal is filed by the undersigned Assistant United States

Attorney on behalf of the Federal Bureau of Investigations ("FBI"), and Robert Goffi,

Special Agent of the FBI (referred to herein collectively as "the FBI"), who notifies this

Court as follows:

       1.     On July 27, 2009, James Cisneros, a defendant being prosecuted by the

District Attorney's Office in El Paso District Court in the District Court for El Paso

County, Colorado, served a subpoena on Robert Goffi, Special Agent of the FBI. The

subpoena was signed by Shimone Kohn, an attorney representing Mr. Cisenros in the

underlying criminal case (People of the State of Colorado v. James Cisneros, 09CR768).

(See Ex. A hereto.) The subpoena sought, among other things, the confidential informant

file of Robert Rodarte, who is also being prosecuted by the state in connection with the

same incident for which Mr. Cisneros is being prosecuted. The FBI responded in writing

to the subpoena and produced certain responsive documentation that was relevant to the

incident out of which the state prosecutions arise and that was subject to release pursuant

to the Department of Justice's Touhy regulations. The FBI moved to quash the subpoena

to the extent that it sought additional documentation and appeared, through counsel, at the

subpoena return date in state court, at which time additional argument was received.
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       2.      Since that time, Mr. Rodarte and two other defendants who are being

prosecuted for charges arising out of the same incident also served subpoenas and all the

defendants joined in the subpoenas served by the other defendants. (See Exs. B and C

hereto.) The other Defendants are being prosecuted in the cases of People of the State of

Colorado v. Robert Rodarte, 09CR753, People of the State of Colorado v. Frankie

Salazar, 09CR748, and People of the State of Colorado v. Jose Salazar, 09CR818)). The

FBI supplemented its initial production to Defendant Cisneros and made additional

portions of the confidential informant file available to the Defendants. The FBI

continued to object to the production of portions of the file that involved activities by Mr.

Rodarte in connection with other investigations (including those taking place out of state),

that had no relevance to the state court proceedings, that were not subject to disclosure

under the Touhy regulations, and that were covered by the law enforcement and

confidential informant privileges.

       3.      In an effort to expedite the resolution of various issues raised by the

defendants, the FBI submitted the entirety of the confidential informant file to the state

court for an in camera review. The state court reviewed the entire file and ruled on what

it found to be discoverable in a hearing held on September 24, 2009. The FBI had already

produced many of those documents and the remaining documents that the state court

found to be discoverable were produced.

       4.      After initially ruling that the portions of the file for which the FBI did not

consent to release were not discoverable, on November 24, 2009, the state court held a

hearing at which it did not permit any argument. At that hearing, the state court issued an

oral ruling reversing itself and stating that it intended to release to all parties in all four

cases the entirety of the FBI's confidential file, with two substantive exceptions, subject to
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a protective order. On December 2, 2009, the FBI moved to reconsider that order in all

four cases and to stay the release of the file to allow the FBI to remove the issue to this

Court in the event that the motion to reconsider was denied. On December 8, 2009, the

state court issued a written order in all four cases denying the motion to reconsider but

granting the stay to allow the FBI to remove the issue to this Court. (Ex. D hereto.)

       5.     The Office of the United States Attorney for the District of Colorado was

notified of the Court's oral ruling on November 24, 2009, and of the Court's denial of the

motion to reconsider on December 8, 2009.

       6.     This Notice of Removal is filed pursuant to 28 U.S.C. § 1442(a), the federal

officer removal protection statute.

       7.     The Federal Bureau of Investigation is an agency of the United States

Government, and the custodian of records and Robert Goffi is a federal employee.

       8.     The District Court for El Paso County has ordered the release of the

contents of the FBI's confidential informant file to all parties in the state cases, over the

objection of the FBI.

       9.     In compliance with D.C.COLO.LCivR 81.1, the FBI is in the process of

obtaining the documents filed in the state court action for filing with this court. As of the

filing of this motion, the FBI is aware that a hearing is set for December 17, 2009, and

that a trial date of January 19, 2010 has been set for Defendant Rodarte. No trial date has

been set for the other Defendants. The FBI is not aware of any hearings or other

proceedings that have set in state court.

       WHEREFORE, this action arising in the District Court for El Paso County,

Colorado, in case Nos. 09CR748, 09CR753, 09CR768, and 09CR818 is properly

removed therefrom to this Court, pursuant to 28 U.S.C. § 1442(a).
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     DATED this 11th day of December, 2009.

                                    Respectfully submitted,

                                    DAVID M. GAOUETTE
                                    United States Attorney


                                    s/ Amy L. Padden
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                             CERTIFICATE OF SERVICE


    I hereby certify that on December 11, 2009, I served the foregoing NOTICE OF
REMOVAL by depositing the same in the U.S. Mail, postage prepaid, addressed to:

Counsel for Plaintiff:

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                                                        s/ Amy L. Padden
                                                        Amy L. Padden
